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                 13                               UNITED STATES DISTRICT COURT
                 14                             CENTRAL DISTRICT OF CALIFORNIA
                 15
                 16     ROBEKS FRANCHISE                       Case No. 2:20-CV-00379-MWF (SSx)
                        CORPORATION,
                 17                                            Hon. Michael W. Fitzgerald
                                         Plaintiff,
                 18
                                 v.                            DECLARATION OF DAVID
                 19                                            RAWNSLEY IN SUPPORT OF
                        CHRISTINE ALVEARI and                  PLAINTIFF’S OPPOSITION TO
                 20     HEALTHY EATS, LLC,                     DEFENDANTS’ EMERGENCY
                                                               MOTION
                 21                      Defendants.
                 22
                                                               Action Filed:         January 14, 2020
                 23
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F AEGRE D RINKER                                             DECLARATION OF DAVID RAWNSLEY IN SUPPORT OF PLAINTIFF’S
ATTORNEYS AT LAW                                                       OPPOSITION TO DEFENDANTS’ EMERGENCY MOTION
   LOS ANGELES                                                                          Case No. 2:20-CV-00379-MWF (SSx)
                       US.126936790.01
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